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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                              CENTRAL DIVISION at FRANKFORT

CRIMINAL ACTION NO. 08-21-KSF

UNITED STATES OF AMERICA                                                                   PLAINTIFF

v.                                     OPINION & ORDER

LEONARD LAWSON
CHARLES WILLIAM “BILL” NIGHBERT and
BRIAN RUSSELL BILLINGS                                                                 DEFENDANTS

                                         ***********

        This matter is before the Court on the motion of the defendants, Leonard Lawson and Charles

William “Bill” Nighbert (collectively “Defendants”), to admit specific Government “admissions.”

The Court, having reviewed the record and being otherwise sufficiently advised, will deny the

motion.

        Defendants argue that certain statements made by the prosecution in pleadings, oral argument

and communications with Defendants’ attorneys are admissible under Federal Rule of Evidence

801(d)(2)(D) as admissions of a party opponent. Rule 801(d)(2)(D) provides that “a statement by

the party’s agent or servant concerning a matter within the scope of the agency or employment during

the existence of the relationship” are admissible as non-hearsay. In some rare cases, statements by

a prosecuting attorney have been construed as admissions of a party-opponent. Even when such

statements have been admitted, however, the court has found that the statements are adverse to the

government’s position at trial. As the Sixth Circuit noted in United States v. Harris, 225 F.3d 660,

2000 WL 1033008 (6th Cir. July 21, 2000)(table), “[t]he clear language of the rule requires both that

the admission be ‘offered against a party’ and that it be a statement reliably attributable to the party-

opponent in one of five ways.” Since the Court is unable to determine whether any of the offered
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statements are adverse to the Government’s position at trial, the statements are not admissible

pursuant to Rule 801(d)(2) at this time. Further, the Court reserves ruling on whether the

prosecutors’ statements, even if adverse, constitute statements of a “party-opponent” for purposes

of the Rule.

        Accordingly, IT IS ORDERED that the Defendants’ Motion to Admit Government

Admissions [DE 529] is DENIED WITHOUT PREJUDICE to reassert at the appropriate time

during trial.

        This December 9, 2009.
